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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
                                         
PETER W. EMMET,

                   Plaintiff,
                                                   Case No.: 16-cv-11211
v.                                                 Honorable Gershwin A. Drain



TOM DEL FRANCO, et al.,

             Defendants.
___________________________/

     ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT
            KARO’S MOTION FOR RECONSIDERATION [#91]

       On August 10, 2017, this Court entered an Order Granting Motion to

Withdraw as Counsel, Imposing Sanctions and Setting Dates. See Dkt. No. 88.

The Court’s August 10, 2017 Order required Defendant Karo to submit a check

payable to the Clerk of the Court in the amount of $500.00, which represents

sanctions imposed by the Court for Defendant Karo’s failure to submit a doctor’s

note excusing his personal appearance at the August 1, 2017, and August 8, 2017

hearings in this matter. Id. at 6. The Court’s August 10, 2017 Order also ordered

Defendant Karo to pay an additional $500.00 if he failed to submit a $500.00

check by August 15, 2017. Id.

       Presently before the Court is Defendant Karo’s Motion for Reconsideration,
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filed on August 14, 2017. For the reasons that follow, the Court will grant in part

and deny in part Defendant Karo’s Motion for Reconsideration.

      Local Rule 7.1(h)(3) of the Local Rules of the United States District Court

for the Eastern District of Michigan provides:


      Generally, and without restricting the Court’s discretion, the Court
      will not grant motions for rehearing or reconsideration that merely
      present the same issues ruled upon by the Court, either expressly or by
      reasonable implication. The movant must not only demonstrate a
      palpable defect by which the Court and the parties and other persons
      entitled to be heard on the motion have been misled but also show that
      correcting the defect will result in a different disposition of the case.
E.D. Mich. L.R. 7.1(h)(3). “A ‘palpable defect’ is ‘a defect that is obvious, clear,

unmistakable, manifest, or plain.’” United States v. Lockett, 328 F. Supp. 2d 682,

684 (E.D. Mich. 2004) (citing United States v. Cican, 156 F. Supp. 2d 661, 668

(E.D. Mich. 2001)). In his present motion, Defendant Karo fails to demonstrate a

palpable defect by which this Court has been misled and that correcting said defect

will result in a different disposition of the case. However, the Court will not

impose an additional $500.00 in sanctions if Defendant Karo submits a doctor’s

note excusing his absence from the August hearings in this matter no later than

August 21, 2017.


      For the foregoing reasons, Defendant Karo’s Motion for Reconsideration

[#91] is GRANTED IN PART and DENIED IN PART.



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      Defendant Karo shall submit a $500.00 check payable to the Clerk of the

Court no later than August 21, 2017. Defendant Karo shall also submit a doctor’s

note excusing his absence from the August hearings in this matter no later than

August 21, 2017. Failure to abide by this order may result in the imposition of

additional monetary sanctions.


      SO ORDERED.

Dated: August 15, 2017                            /s/Gershwin A. Drain
                                                  GERSHWIN A. DRAIN
                                                  United States District Judge




                         CERTIFICATE OF SERVICE

           Copies of this Order were served upon attorneys of record on
              August 15, 2017, by electronic and/or ordinary mail.
                                /s/ Tanya Bankston
                                    Deputy Clerk 




 




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